                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                           CASE NO. 1:21-CV-261-MR-DCK

 TODD LYNN PARKIN,                                    )
                                                      )
                 Plaintiff,                           )
                                                      )
    v.                                                )      ORDER
                                                      )
 BUNCOMBE COUNTY SCHOOL                               )
 DISTRICT, et al.,                                    )
                                                      )
                 Defendants.                          )
                                                      )

         THIS MATTER IS BEFORE THE COURT on “Non-Party Cynthia Moses’s Motion To

Unseal Or Release Complaint” (Document No. 10) filed October 25, 2021. This motion has been

referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will deny the motion as moot.

         By the instant motion, non-party Cynthia Moses (“Moses”) seeks “an order unsealing the

Complaint filed in this action on September 29, 2021.” (Document No. 10). On the same date as

Moses’ motion, the Honorable Martin Reidinger issued an Order directing Plaintiff to file redacted

versions of his Complaint and its accompanying exhibits. (Document No. 12). Chief Judge

Reidinger further ordered “that the unredacted versions of the Complaint and attached exhibits

shall be maintained under seal pending further Order of this Court.” Id.

         On November 9, 2021, Plaintiff filed a redacted version of the Complaint. See (Document

No. 16). As such, the undersigned finds that Moses’ request to unseal or release the Complaint is

now moot. The original, unredacted Complaint (Document No. 1) remains under seal; and an




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unsealed redacted version of the Complaint (Document No. 16) is available to the public and

Moses.

         IT IS, THEREFORE, ORDERED that “Non-Party Cynthia Moses’s Motion To Unseal

Or Release Complaint” (Document No. 10) is DENIED AS MOOT.

         SO ORDERED.


                            Signed: November 10, 2021




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